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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION



KOSS CORPORATION,

        Plaintiff,                                     Case No. 6:20-cv-00662

        v.                                             COMPLAINT FOR PATENT
                                                       INFRINGEMENT
PEAG, LLC d/b/a JLAB AUDIO
                                                       DEMAND FOR JURY TRIAL
       Defendant.




                 ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff, Koss Corporation (“Koss”), files this complaint for patent infringement against

PEAG, LLC d/b/a JLab Audio (“JLab” or “Defendant”) and in support thereof alleges and avers

as follows:

                                  NATURE OF THE ACTION

        1.      This is a civil action arising under the patent laws of the United States, 35 U.S.C. §

1 et seq., including specifically 35 U.S.C. § 271, based on JLab’s willful infringement of U.S.

Patent Nos. 10,206,025 (“the ’025 Patent”), 10,368,155 (“the ’155 Patent”), 10,491,982 (“the ’982

Patent”), and 10,506,325 (“the ’325 Patent”) (collectively “the Patents-in-Suit”).

                                          THE PARTIES

        2.      Plaintiff Koss Corporation is a corporation existing under the laws of the State of

Delaware having its principal place of business located at 4129 North Port Washington Avenue,

Milwaukee, Wisconsin 53212.

        3.      Koss markets a complete line of high-fidelity headphones and audio accessories.

Koss’s products, branded under the Koss brand name or private label brands, are sold at various

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retail chains throughout the United States and the world, including Walmart stores and other large

brick-and-mortar establishments, as well as direct to customers in at least the following cities in

this District: Alpine, Austin, Del Rio, El Paso, Midland, Odessa, San Antonio, and Waco.

        4.     Koss also serves as an Original Equipment Manufacturer (“OEM”) for a customer

in this Judicial District.   In this role, Koss manufactures OEM headphones sold under its

customer’s brand.

        5.     On information and belief, PEAG, LLC d/b/a JLab Audio is a Delaware

Corporation with a principal place of business at 2281 Las Palmas Dr., Carlsbad, California 92011

and an established place of business at 17950 Preston Road, Suite 360, Dallas, Texas 75252. On

information and belief, PEAG, LLC d/b/a JLab Audio is registered to do business in the State of

Texas and may be served through its registered agent Corporation Services Company dba CSC

Lawyers Inco, 211 E. 7th St., Suite 620, Austin, Texas 78701.

        6.     On information and belief, JLab has transacted business in this district and has

committed acts of direct and indirect infringement in this District by, among other things,

importing, offering to sell, and selling products that infringe the asserted patents to businesses in

this district including, but not limited to Target, Best Buy, Kohl’s, Verizon, Office Depot, Office

Max, Wal-Mart, Academy Sports, and Dick’s Sporting Goods stores located in, inter alia, El Paso,

Austin, San Antonio, and other cities within this district.

                                 JURISDICTION AND VENUE

        7.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a) because the claims herein arise under the patent laws of the United States, 35 U.S.C. § 1

et seq., including 35 U.S.C. § 271.

        8.     This Court has personal jurisdiction over JLab in this action because JLab has

committed acts of infringement within the State of Texas and within this District through, for

example, the sale of JLab headphones both online and from the retail locations of its partners in
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this District. JLab regularly transacts business in the State of Texas and within this District. JLab

engages in other persistent courses of conduct and derives substantial revenue from products

and/or services provided in this District and in Texas, and has purposefully established substantial,

systematic, and continuous contacts within this District and should reasonably expect to be sued

in a court in this District. For example, JLab has offices and a registered agent for service in Texas.

JLab operates a website and various advertising campaigns that solicit sales of the infringing

products by consumers in this District and in Texas. JLab has entered into partnerships with

numerous resellers and distributors to sell and offer for sale the Accused Products to consumers in

this District, both online and in stores, and offers support service to customers in this District.

Given these contacts, the Court’s exercise of jurisdiction over JLab will not offend traditional

notions of fair play and substantial justice

        9.     Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§ 1391(b),

(c) and 1400(b).

        10.    On information and belief, JLab has transacted business in this judicial district and

has committed acts of direct and indirect infringement in this judicial District by, among other

things, importing, offering to sell, and selling products that infringe the asserted patents to

businesses in this district including, but not limited to Target, Best Buy, Kohl’s, Verizon, Office

Depot, Office Max, Wal-Mart, Academy Sports, and Dick’s Sporting Goods stores located in, inter

alia, El Paso, Austin, San Antonio, and other cities within this district, and providing support

service to JLab’s customers in this District.

                        KOSS’S LEGACY OF AUDIO INNOVATION

        11.    Koss was founded in 1953 as a television rental company in Milwaukee, Wisconsin.

        12.    In 1958, John C. Koss invented the world’s first SP/3 Stereophone as part of a

“private listening system” that would enable the wearer to listen to a phonograph without

disturbing others in the vicinity:
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        13.    The SP/3 Stereophone provided, for the first time, a high-quality stereophonic

headphone that approximated the sounds of a concert hall.

        14.    John C. Koss demonstrated the SP/3 Stereophone at a Wisconsin audio show in

1958. Initially designed to demonstrate the high-fidelity stereo sound that a portable phonograph

player delivered, these revolutionary SP/3 Stereophones became the hit of the show.

        15.    The SP/3 Stereophone has since been enshrined in the Smithsonian Museum’s

collection in Washington, DC, with John C. Koss delivering the SP/3 for enshrinement along with

an explanation of the story of the SP/3 in 1972:




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        16.    Koss’s commitment to headphone development continued into the 1960s and

beyond. In 1962, Koss developed and brought to market the PRO/4 Stereophone, which was

bestowed with Consumer Union Magazine’s #1 choice award in 1963:




        17.    Due to the success and quality of the Pro/4, the United States government awarded

Koss with a contract to install fifty (50) Pro/4 units in the staff, press, and presidential quarters of

Air Force One. Passengers accessing the aircraft’s state-of-the-art entertainment system listened

to the system using the Pro/4:




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        18.     In 1970, Koss moved its World Headquarters to the current location at 4129 North

Port Washington Ave., Milwaukee, Wisconsin:




        19.     Also in 1970, Koss set the standard for full-size professional headphones with its

Pro/4AA:




        20.     At the time of introduction, the Pro/4AA were regarded as the first dynamic

headphones to deliver true full frequency and high-fidelity performance with noise-isolating

capabilities.




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        21.    Koss continued improving its Stereophone product line throughout the 1970s and

into the 1980s. In 1984, Koss introduced the Porta Pro, an acclaimed product that set performance

and comfort standards for on-the-go listening:




        22.    The Porta Pro continues to be one of the most popular headphone products around

the world, particularly because of its exceptional audio fidelity and performance capabilities. In

fact, as recently as 2008, CNET awarded the Porta Pros a four-star rating of 8.3 (out of 10), with

a performance score of 9 (out of 10), stating that “there’s no denying the sound quality here:

they’re the ideal companion for mobile audiophiles and home theater enthusiasts.”

(https://www.cnet.com/reviews/koss-portapro-with-case-review/).

        23.    In 1965, Koss introduced the award-winning speaker, the Acoustech X, which was

heralded as a breakthrough product by Billboard Magazine, touting its concert hall quality and

ability to accurately amplify an acoustic guitar to large concert halls. Acoustic System Succeeds

In Classical Guitar Concert, BILLBOARD, May 27, 1967, at 71.


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        24.    Following on Acoustech X, Koss went on to develop a number of additional

products: the world’s first computer maximized loudspeaker in 1976; the Kossfire speaker line in

the 1980s; the dynamic audio/video Dynamite bookshelf series speaker line; a line of

portable/desktop computer speakers that employed a unique magnetic shield to protect nearby

computer video and data equipment; and an amplified portable loudspeaker, the M/100, in early

1987.

        25.    In 1987, Koss pioneered one of the earliest completely wireless infrared speaker

systems: the JCK 5000. In 1986, Koss also unveiled a portable speaker, the KSC/50, which was

utilized by thousands of members of the United States military during the Gulf War in 1990.

Related to the KSC/50, Koss’s KSC/5000 included a built-in amplifier. Those products were

profiled in a Newsweek feature on October 12, 1987:




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        26.    Over the following years, Koss continued to expand its portable speaker offerings,

including by expanding into speakerphones for teleconferencing systems with the Speakeasy line,

followed by various additional wireless models for portable use.

        27.    Elite musicians including Tony Bennett, Les Brown, and Frank Sinatra Jr., have

used Koss headphones, including the Pro/4, while recording and/or performing. Koss’s official

spokespeople have included music legends Mel “the Velvet Fog” Tormé and Doc Severinsen, the

trumpet-playing bandleader for Johnny Carson’s Tonight Show band.

        28.    In 1979, John C. Koss was inducted into the Audio Hall of Fame.

        29.    In 2000, John C. Koss was inducted into the inaugural class of the Consumer

Electronics Hall of Fame.
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        30.       In 2004, John C. Koss was inducted into the Wisconsin Business Hall of Fame.

         KOSS DEVELOPS THE FIRST EVER TRUE WIRELESS HEADPHONES

        31.       Continuing its culture of innovation in high-fidelity audio equipment, in the early

2000s, Koss began developing what became known as the “Striva” project. The vision for the

Striva project was borne out of Koss’s recognition that wireless headphones were going to be an

integral part of peoples’ audio consumption. In particular, Koss recognized that as radios were

needing less power and as batteries and other power sources became smaller and more efficient,

people would eventually consume audio content through headphones wirelessly connected to some

kind of a source, be it a handheld computing device or in the cloud.

        32.       In the early 2000s, Koss began making substantial monetary investments in the

Striva project, with the goal of bringing “True Wireless” listening to its loyal customers as the next

in a long series of headphone innovations.

        33.       Koss recognized that the future was a wireless world, complete with mobile internet

connectivity that went beyond traditional hardwired, or computer-based, network topologies. It

recognized that wireless ubiquity was coming, and would extend to wearable devices, including

Koss’s area of expertise: the headphone.

        34.       With these recognitions in mind, Koss made a substantial commitment to investing

in what it saw as the future of headphone technology. This work eventually became the Striva

project, and over the course of its work, Koss invested tens of millions of dollars developing chips,

fabrication techniques, prototype headphones, and other related technology to bring the Striva

vision to life.

        35.       In particular, Koss’s work on Striva resulted in the development of a system-on-

chip smaller than a human fingertip that could provide audio and wireless communications

processing on a low power budget for incorporation into headphones of various form factors:


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        36.    Koss’s work to develop Striva also predicted some of the interactions that modern

headphone users take for granted today. In particular, Koss recognized early on that the inclusion

of a microphone (with appropriate voice recognition software and circuitry) could provide a

convenient, hands-free way to interact with wireless headphones. Koss developed technology that

could react to such voice prompts, and in fact implemented prototypes that reacted to users saying

“Striva” into a headphone-mounted microphone to begin a voice-based interaction to, for example,

switch tracks or adjust headphone volume.

        37.    Koss also recognized a headphone concept that users today take for granted:

different headphones for different applications. In particular, as part of the Striva project, Koss

developed different form factors with different performance capabilities depending on anticipated

use. Over-ear headphones provided users with higher-quality sound, ambient noise dampening

capabilities, and better battery life (due to additional battery real estate), while in-ear headphones

provided portability and capability in a smaller, less-intrusive package.

        38.    Koss developed prototype in-ear headphones that relied on its chip development

efforts, with working prototypes from the mid-2000s looking very much like commonly-known

consumer products that flood the market a decade-and-a-half later:




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        39.    In 2012, Koss introduced Wi-Fi-enabled headphones, the result of its Striva project,

which BizTimes hailed as the first wireless headphones to use Wi-Fi transmission and credited

Koss with “introducing personal listening to the Internet.” (https://biztimes.com/koss-creates-

wireless-headphones-for-wi-fi-music-access/).

        40.    In April 2012, Koss brought to market both an in-ear and over-ear embodiment of

the Striva vision, with the Striva Pro model being the first true Wi-Fi over the ear headphones (and

mirroring many features and aesthetics modern-day users expect in wireless, over-ear

headphones):




        41.    The Striva Tap, a smaller, in-ear version of the Striva Pro Wi-Fi headphone,

provided users with some of the features that modern-day consumers take for granted in in-ear


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headphones, like independent wireless earphones with touch gestures to control listening

preferences by manipulating the surface of the headphones:




        42.    Koss also developed (though ultimately did not market) a smart speaker that

incorporated many of the Striva features, albeit in a non-wearable form factor. The Striva-based

speaker product had a capacitive touch interface to mimic the features of the Striva headphones,

and also included a microphone for voice control. In addition, the Striva-based speaker had the

capability to be included in a distributed network as part of a precursor to the presently understood

Internet of Things, such that the input devices (e.g., the microphone) could be used to control other

items in the distributed network (e.g., light switches). The speaker therefore allowed, for example,

a user to say “Striva, turn on the lights,” and the lights would turn on.

        43.    The Striva-based speaker product, referred to as the LS2, exists as a working

prototype:




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        44.    Unfortunately, the economic reality of Koss’s market position did not permit it to

bring its Striva-based product vision to the masses. In particular, due to events abroad (and Koss’s

reliance on sales into those foreign countries), Koss’s supply chain and customer base were thrown

into upheaval in the late-2000’s and early-2010’s.

        45.    Moreover, Koss conducted market research during the mid-2000’s, and concluded

that given the market that was likely to develop for wireless headphones, larger companies with

more manufacturing capability would become a substantial threat to bringing Striva fully to

market. As a result, Koss invested substantially on part-purchasing, machinery, fabrication, and

the like.

        46.    The circumstances above, and other circumstances outside of Koss’s control, meant

that the advanced features first developed for Striva were not able to be fully experienced by the

majority of the purchasing public.

        47.    Koss brings the instant lawsuit because the industry has caught up to Koss’s early-

2000s vision: the technology Koss developed as part of its substantial Striva investment has

become standardized, with whole listening ecosystems having been built around the techniques

Koss conceived of over a decade ago.



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        48.    More fundamentally, Koss is responsible for creating an entire headphone industry

beginning from its release of the pioneering Stereophone as a ubiquitous way to consume

information in 1958. JLab and others are reaping enormous benefits due to John C. Koss’s vision,

and Koss Corporation’s commitment to that vision, for more than six decades.

                                     THE PATENTS-IN-SUIT

        49.    On February 12, 2019, U.S. Patent No. 10,206,025, entitled “System with Wireless

Earphones,” was duly and legally issued by the United States Patent and Trademark Office. A

true and accurate copy of the ’025 Patent is attached hereto as Exhibit A.

        50.    On July 30, 2019, U.S. Patent No. 10,368,155, entitled “System with Wireless

Earphones,” was duly and legally issued by the United States Patent and Trademark Office. A

true and accurate copy of the ’155 Patent is attached hereto as Exhibit B.

        51.    On November 26, 2019, U.S. Patent No. 10,491,982, entitled “System with

Wireless Earphones,” was duly and legally issued by the United States Patent and Trademark

Office. A true and accurate copy of the ’982 Patent is attached hereto as Exhibit C.

        52.    On December 10, 2019, U.S. Patent No. 10,506,325, entitled “System with

Wireless Earphones,” was duly and legally issued by the United States Patent and Trademark

Office. A true and accurate copy of the ’325 Patent is attached hereto as Exhibit D.

        53.    The Patents-in-Suit represent Koss’s significant investment into the wireless

headphone and wearable technology space, including its commitment in the form of decades of

research and millions of dollars.

               DEFENDANT’S KNOWLEDGE OF THE PATENTS-IN-SUIT

        54.    On July 13, 2020, Defendant was notified of its infringement by way of the letter

attached hereto as Exhibit I.

                                    FIRST CAUSE OF ACTION

                                (Infringement of the ’025 Patent)
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        55.     Koss incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 54 as if set forth herein.

        56.     Koss owns all substantial rights, interest, and title in and to the ’025 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’025 Patent against

infringers, and to collect damages for all relevant times.

        57.     The ’025 Patent generally describes wireless earphones that comprise a transceiver

circuit for receiving streaming audio from a data source, such as a digital audio player or a

computer, over a wireless network.

        58.     The written description of the ’025 Patent describes in technical detail each of the

limitations of the claims, allowing a skilled artisan to understand the scope of the claims and how

the non-conventional and non-generic combination of claim limitations is patentably distinct from

and improved upon what may have been considered conventional or generic in the art at the time

of the invention.

        59.     JLab has made, had made, used, imported, supplied, distributed, sold, and/or

offered for sale products and/or systems, including systems in which its JLab-branded products

and/or systems, including the Air Executive headphones, are incorporated (“Accused

Headphones”).

        60.     As set forth in the attached non-limiting Claim chart (Exhibit E), JLab has infringed

and is infringing at least Claim 1 of the ’025 Patent by making, having made, using, importing,

distributing, selling, and/or offering for sale the Accused Headphones. In particular, the use of the

Accused Headphones by JLab to, for example, demonstrate those products in brick-and-mortar

stores in Austin, Texas or to, for example, test those products, constitute acts of direct infringement

of Claim 1 of the ’025 Patent.

        61.     JLab actively induces infringement of at least Claim 1 of the ’025 Patent by selling

the Accused Headphones with instructions as to how to use the Accused Headphones in a system
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such as that recited in the ’025 Patent. JLab aids, instructs, or otherwise acts with the intent to

cause an end user to use the Accused Headphones. JLab knew of the ’025 Patent and knew that

its use and sale of the Accused Headphones infringe at least Claim 1 of the ’025 Patent.

        62.     JLab is also liable for contributory infringement of at least Claim 1 of the ’025

Patent by providing, and by having knowingly provided, a material part of the instrumentalities,

namely the Accused Headphones, used to infringe Claim 1 of the ’025 Patent. The Accused

Headphones have no substantial non-infringing uses. When an end user uses the Accused

Headphones in combination with, for example, a smart phone such as, for example, an Apple

iPhone and/or a periphery device, such as, for example, an Apple Watch, the end user directly

infringes Claim 1 of the ’025 Patent. JLab knew that the Accused Headphones were especially

made for use in an infringing manner prior to the filing of this lawsuit. For at least the reasons set

forth above, JLab contributes to the infringement of the ’025 Patent by others.

        63.     Koss has been damaged as a result of the infringing conduct by JLab alleged above.

Thus, JLab is liable to Koss in an amount that compensates it for such infringement, which by law

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

        64.     JLab’s infringement of the ’025 Patent has caused, and will continue to cause, Koss

to suffer substantial and irreparable harm.

        65.     JLab has been aware that it infringes the ’025 Patent since at least July 13, 2020,

upon the receipt of the letter attached as Exhibit I. Since obtaining knowledge of its infringing

activities, JLab has failed to cease its infringing activities.

        66.     JLab’s infringement of the ’025 Patent is, has been, and continues to be, willful,

intentional, deliberate, and/or in conscious disregard of Koss’s rights under the patent.

        67.     Koss has complied with 35 U.S.C. § 287 with respect to the ’025 Patent.

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                                 (Infringement of the ’155 Patent)

        68.     Koss incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 67 as if set forth herein.

        69.     Koss owns all substantial rights, interest, and title in and to the ’155 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’155 Patent against

infringers, and to collect damages for all relevant times.

        70.     The ’155 Patent generally describes wireless earphones that comprise a transceiver

circuit for receiving streaming audio from a data source, such as a digital audio player or a

computer, over a wireless network.

        71.     The written description of the ’155 Patent describes in technical detail each of the

limitations of the claims, allowing a skilled artisan to understand the scope of the claims and how

the non-conventional and non-generic combination of claim limitations is patentably distinct from

and improved upon what may have been considered conventional or generic in the art at the time

of the invention.

        72.     JLab has made, had made, used, imported, supplied, distributed, sold, and/or

offered for sale products and/or systems, including systems in which its JLab-branded products

and/or systems, including the Air Executive headphones, are incorporated (“Accused

Headphones”).

        73.     As set forth in the attached non-limiting Claim chart (Exhibit F), JLab has infringed

and is infringing at least Claim 1 of the ’155 Patent by making, having made, using, importing,

distributing, selling, and/or offering for sale the Accused Headphones. In particular, the use of the

Accused Headphones by JLab to, for example, demonstrate those products in brick-and-mortar

stores in Austin, Texas or to, for example, test those products, constitute acts of direct infringement

of Claim 1 of the ’155 Patent.


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        74.     JLab actively induces infringement of at least Claim 1 of the ’155 Patent by selling

the Accused Headphones with instructions as to how to use the Accused Headphones in a system

such as that recited in the ’155 Patent. JLab aids, instructs, or otherwise acts with the intent to

cause an end user to use the Accused Headphones. JLab knew of the ’155 Patent and knew that

its use and sale of the Accused Headphones infringe at least Claim 1 of the ’155 Patent.

        75.     JLab is also liable for contributory infringement of at least Claim 1 of the ’155

Patent by providing, and by having knowingly provided, a material part of the instrumentalities,

namely the Accused Headphones, used to infringe Claim 1 of the ’155 Patent. The Accused

Headphones have no substantial non-infringing uses. When an end user uses the Accused

Headphones in combination with, for example, a smart phone such as, for example, an Apple

iPhone and/or a peripheral device such as, for example, an Apple Watch, the end user directly

infringes Claim 1 of the ’155 Patent. JLab knew that the Accused Headphones were especially

made for use in an infringing manner prior to the filing of this lawsuit. For at least the reasons set

forth above, JLab contributes to the infringement of the ’155 Patent by others.

        76.     Koss has been damaged as a result of the infringing conduct by JLab alleged above.

Thus, JLab is liable to Koss in an amount that compensates it for such infringement, which by law

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

        77.     JLab’s infringement of the ’155 Patent has caused, and will continue to cause, Koss

to suffer substantial and irreparable harm.

        78.     JLab has been aware that it infringes the ’155 Patent since at least July 13, 2020,

upon the receipt of the letter attached as Exhibit I. Since obtaining knowledge of its infringing

activities, JLab has failed to cease its infringing activities.

        79.     JLab’s infringement of the ’155 Patent is, has been, and continues to be, willful,

intentional, deliberate, and/or in conscious disregard of Koss’s rights under the patent.
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        80.    Koss has complied with 35 U.S.C. § 287 with respect to the ’155 Patent.

                                  THIRD CAUSE OF ACTION

                                (Infringement of the ’982 Patent)

        81.    Koss incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 80 as if set forth herein.

        82.    Koss owns all substantial rights, interest, and title in and to the ’982 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’982 Patent against

infringers, and to collect damages for all relevant times.

        83.    The ’982 Patent generally describes wireless earphones that comprise a transceiver

circuit for receiving streaming audio from a data source, such as a digital audio player or a

computer, over a wireless network.

        84.    The written description of the ’982 Patent describes in technical detail each of the

limitations of the claims, allowing a skilled artisan to understand the scope of the claims and how

the non-conventional and non-generic combination of claim limitations is patentably distinct from

and improved upon what may have been considered conventional or generic in the art at the time

of the invention.

        85.    JLab has made, had made, used, imported, supplied, distributed, sold, and/or

offered for sale products and/or systems, including systems in which its JLab-branded products

and/or systems, including the Air Executive headphones, are incorporated (“Accused Pods”).

        86.    As set forth in the attached non-limiting Claim chart (Exhibit G), JLab has infringed

and is infringing at least Claim 1 of the ’982 Patent by making, having made, using, importing,

distributing, selling, and/or offering for sale the Accused Pods. In particular, the use of the

Accused Pods by JLab to, for example, demonstrate those products in brick-and-mortar stores in

Austin, Texas or to, for example, test those products, constitute acts of direct infringement of Claim

1 of the ’982 Patent.
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        87.     JLab actively induces infringement of at least Claim 1 of the ’982 Patent by selling

the Accused Pods with instructions as to how to use the Accused Pods in a system such as that

recited in the ’982 Patent. JLab aids, instructs, or otherwise acts with the intent to cause an end

user to use the Accused Pods. JLab knew of the ’982 Patent and knew that its use and sale of the

Accused Pods infringe at least Claim 1 of the ’982 Patent.

        88.     JLab is also liable for contributory infringement of at least Claim 1 of the ’982

Patent by providing, and by having knowingly provided, a material part of the instrumentalities,

namely the Accused Pods, used to infringe Claim 1 of the ’982 Patent. The Accused Pods have no

substantial non-infringing uses. When an end user uses the Accused Pods in combination with,

for example, a smart phone such as, for example, Apple iPhone and/or a peripheral devices such

as, for example, an Apple Watch, the end user directly infringes Claim 1 of the ’982 Patent. JLab

knew that the Accused Pods were especially made for use in an infringing manner prior to the

filing of this lawsuit. For at least the reasons set forth above, JLab contributes to the infringement

of the ’982 Patent by others.

        89.     Koss has been damaged as a result of the infringing conduct by JLab alleged above.

Thus, JLab is liable to Koss in an amount that compensates it for such infringement, which by law

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

        90.     JLab’s infringement of the ’982 Patent has caused, and will continue to cause, Koss

to suffer substantial and irreparable harm.

        91.     JLab has been aware that it infringes the ’982 Patent since at least July 13, 2020,

upon the receipt of the letter attached as Exhibit I. Since obtaining knowledge of its infringing

activities, JLab has failed to cease its infringing activities.

        92.     JLab’s infringement of the ’982 Patent is, has been, and continues to be, willful,

intentional, deliberate, and/or in conscious disregard of Koss’s rights under the patent.
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        93.    Koss has complied with 35 U.S.C. § 287 with respect to the ’982 Patent.

                                FOURTH CAUSE OF ACTION

                                (Infringement of the ’325 Patent)

        94.    Koss incorporates by reference and realleges each and every allegation of

Paragraphs 1 through 93 as if set forth herein.

        95.    Koss owns all substantial rights, interest, and title in and to the ’325 Patent,

including the sole and exclusive right to prosecute this action and enforce the ’325 Patent against

infringers, and to collect damages for all relevant times.

        96.    The ’325 Patent generally describes wireless earphones that comprise a transceiver

circuit for receiving streaming audio from a data source, such as a digital audio player or a

computer, over a wireless network.

        97.    The written description of the ’325 Patent describes in technical detail each of the

limitations of the claims, allowing a skilled artisan to understand the scope of the claims and how

the non-conventional and non-generic combination of claim limitations is patentably distinct from

and improved upon what may have been considered conventional or generic in the art at the time

of the invention.

        98.    JLab has made, had made, used, imported, supplied, distributed, sold, and/or

offered for sale products and/or systems, including systems in which its JBud Epic and/or Jbud

Airsport products and/or systems are incorporated (“Accused Hangers”).

        99.    As set forth in the attached non-limiting Claim chart (Exhibit H), JLab has infringed

and is infringing at least Claim 1 of the ’325 Patent by making, having made, using, importing,

distributing, selling, and/or offering for sale the Accused Hangers. In particular, the use of the

Accused Hangers by JLab to, for example, demonstrate those products in brick-and-mortar stores

in Austin, Texas or to, for example, test those products, constitute acts of direct infringement of

Claim 1 of the ’325 Patent.
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        100.    JLab actively induces infringement of at least Claim 1 of the ’325 Patent by selling

the Accused Hangers with instructions as to how to use the Accused Hangers in a system such as

that recited in the ’325 Patent. JLab aids, instructs, or otherwise acts with the intent to cause an

end user to use the Accused Hangers. JLab knew of the ’325 Patent and knew that its use and sale

of the Accused Hangers infringe at least Claim 1 of the ’325 Patent.

        101.    JLab is also liable for contributory infringement of at least Claim 1 of the ’325

Patent by providing, and by having knowingly provided, a material part of the instrumentalities,

namely the Accused Hangers, used to infringe Claim 1 of the ’325 Patent. The Accused Hangers

have no substantial non-infringing uses.        When an end user uses the Accused Hangers in

combination with, for example, a smart phone such as, for example, an Apple iPhone and/or a

peripheral devices such as, for example, an Apple Watch, the end user directly infringes Claim 1

of the ’325 Patent. JLab knew that the Accused Hangers were especially made for use in an

infringing manner prior to the filing of this lawsuit. For at least the reasons set forth above, JLab

contributes to the infringement of the ’325 Patent by others.

        102.    Koss has been damaged as a result of the infringing conduct by JLab alleged above.

Thus, JLab is liable to Koss in an amount that compensates it for such infringement, which by law

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

        103.    JLab’s infringement of the ’325 Patent has caused, and will continue to cause, Koss

to suffer substantial and irreparable harm.

        104.    JLab has been aware that it infringes the ’325 Patent since at least July 13, 2020,

upon the receipt of the letter attached as Exhibit I. Since obtaining knowledge of its infringing

activities, JLab has failed to cease its infringing activities.

        105.    JLab’s infringement of the ’325 Patent is, has been, and continues to be, willful,

intentional, deliberate, and/or in conscious disregard of Koss’s rights under the patent.
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        106.    Koss has complied with 35 U.S.C. § 287 with respect to the ’325 Patent.

                                         JURY DEMAND

        Koss hereby requests a trial by jury on all issues so triable by right.

                                     PRAYER FOR RELIEF

        WHEREFORE, Koss requests that:

        A.      The Court find that JLab has directly infringed the Patents-in-Suit and hold JLab

liable for such infringement;

        B.      The Court find that JLab has indirectly infringed the Patents-in-Suit by inducing its

customers to directly infringe the Patents-in-Suit and hold JLab liable for such infringement;

        C.      The Court find that JLab has indirectly infringed the Patents-in-Suit by contributing

to JLab’s customers’ direct infringement of the Patents-in-Suit and hold JLab liable for such

infringement;

        D.      The Court award damages pursuant to 35 U.S.C. § 284 adequate to compensate

Koss for JLab’s past infringement of the Patents-in-Suit, including both pre- and post-judgment

interest and costs as fixed by the Court;

        E.      The Court increase the damages to be awarded to Koss by three times the amount

found by the jury or assessed by the Court;

        F.      The Court declare that this is an exceptional case entitling Koss to its reasonable

attorneys’ fees under 35 U.S.C. § 285; and

        G.      The Court award such other relief as the Court may deem just and proper.




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Dated: July 22, 2020                          Respectfully submitted,

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